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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
                                             X


     UNITED STATES OF AMERICA

                      -v. -                            INDICTMENT

     NICHOLAS TRUGLIA,


                              Defendant.

                                             X


                                           COUNT ONE

                        (Conspiracy to Commit Wire Fraud)

         The Grand Jury charges:

                                           OVERVIEW

         1.      In or around January 2018, NICHOLAS TRUGLIA, the

    defendant, participated in a scheme to conduct a cyber intrusion

    of online accounts of a victim (the "Victim"), in order to steal

    cryptocurrency.

         2.      During the course of the scheme, participants in the

    scheme (the "Scheme Participants") gained unauthorized access to

    online accounts of the Victim through a cyber intrusion

    technique referred to ~s "SIM swapping."               During a SIM swap

    attack, cyber threat actors gain control of a victim's mobile

    phone number by linking that number to a subscriber identity

    module ("SIM") card controlled by the threat actors, resulting

    in the victim's ca·lls and messages being routed to a device
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controlled by the threat actors.           The threat actors then use

control of the victim's mobile phone number to obtain

unauthorized access to accounts held by the victim that are

registered to the mobile phone number.

     3.      After the Scheme Participants successfully gained

unauthorized access to certain online accounts of the Victim via

a SIM swap of the Victim's mobile phone number (the "SIM Swap"),

NICHOLAS TRUGLIA, the defendant, participated in an online call

with other Scheme Participants, at least one of whom was located

in the Southern District of New York, during which TRUGLIA

became aware of the SIM Swap and agreed to receive

cryptocurrency fraudulently diverted from an online account of

the Victim to an online account under TRUGLIA's control.

TRUGLIA further agreed to convert the stolen cryptocurrency into

Bitcoin, another form of cryptocurrency, and then transfer the

Bitcoin to other Scheme Participants, while keeping a portion as

payment for his services.        In total, during the SIM Swap, Scheme

Participants fraudulently diverted approximately $23.8 million

worth of cryptocurrency during the SIM Swap.

                           STATUTORY ALLEGATIONS

     4.      In or about January 2018, in the Southern District of

New York and elsewhere, NICHOLAS TRUGLIA, the defendant, and




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others known and unknown, willfully and knowingly, did combine,

conspire, confederate, and agree together and with each other to

commit wire fraud,     in violation of Title 18, United States Code,

Section 1343.

     5.      It was a part and object of the conspiracy that

NICHOLAS TRUGLIA, the defendant, and others known and unknown,

willfully and knowingly, having devised and intending to devise

a scheme and artifice to defraud and for obtaining money and

property by means of false and fraudulent pretenses,

representations, and promises, would and did transmit and cause

to be transmitted by means of wire, radio, and television

communication in interstate and foreign commerce, writings,

signs, signals, pictures, and sounds for the purpose of

executing such scheme and artifice, in violation of Title 18,

United States Code, Section 1343, to wit, TRUGLIA engaged in a

SIM swapping scheme to fraudulently obtain approximately $23.B

million worth of cryptocurrency from an online account

controlled by the Victim, which scheme involved the use of

interstate wires, including interstate wires into and out of the

Southern District of New York.

             (Title 18, United States Code, Section 1349.)




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                                        COUNT TWO

                       (Conspiracy to Commit Money Laundering)


           The Grand Jury further charges:


           6.      In or about January 2018, in the Southern District of

     New York and elsewhere, NICHOLAS TRUGLIA, the defendant, and

     others known and unknown, knowingly did combine, conspire,

     confederate, and agree together and with each other to commit

     money laundering, in violation of Title 18, United States Code,

     Sections 1956 (a) (1) (B) (i) .

           7.      It was a part and an object of the conspiracy that

     NICHOLAS TRUGLIA, the defendant, and others known and unknown,

     knowing that the property involved in certain financial

     transactions represented the proceeds of some form of unlawful

     activity, would and did conduct and attempt to conduct such

     financial transactions which in fact involved the proceeds of

     specified unlawful activity, to wit, approximately $23.8 million

     in proceeds of the wire fraud scheme charged in Count One of

     this Indictment, knowing that the transactions were designed in

     whole and in part to conceal and disguise the nature, location,

     source, ownership, and control of the proceeds of specified




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unlawful activity, in violation of Title 18, United States Code,

Section 1956 (a) (1) (B) (i) .

            (Title 18, United States Code, Section 1956(h) .)

                  FORFEITURE ALLEGATION AS TO COUNT ONE

      8.      As a result of committing the offense alleged in Count

One of this Indictment, NICHOLAS TRUGLIA, the defendant, shall

forfeit to the United States, pursuant to Title 18, United

States Code, Section 981(a) (1) and Title 28 United States Code,

Section 2461(c), any and all property, real and personal, that

constitutes or is derived from proceeds traceable to the

commission said offense, including but not limited to a sum of

money in United States currency representing the amount of

proceeds traceable to the commission of said offense that the

defendant personally obtained.

                  FORFEITURE ALLEGATION AS TO COUNT TWO

      9.      As a result of committing the offense alleged in Count

Two of this Indictment, NICHOLAS TRUGLIA, the defendant, shall

forfeit to the United States, pursuant to Title 18, United

States Code, Section 982(a) (1), any and all property, real and

personal, involved in said offense, or any property traceable to

such property, including but not limited to a sum of money in




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United States currency representing the amount of property

involved in said offense.

                       Substitute Assets Provision

     10.     If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

     a.      cannot be located upon the exercise of due diligence;

     b.      has been transferred or sold to, or deposited with, a

third person;

     c.      has been placed beyond the jurisdiction of the Court;

     d.      has been substantially diminished in value; or

     e.      has been commingled with other property which cannot

be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), and Title 28, United States

Code, Section 2461(c), to seek forfeiture of any other property

of the defendant up to the value of the above forfeitable

property.

          (Title 18, United States Code, Sections 981 and 982;
            Title 21, United States Code, Section 853; and
              Title 28, United States Code, Section 2461.)



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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


                            UNITED STATES OF AMERICA

                                         - v. -

                                NICHOLAS TRUGLIA,

                                                  Defendant.


                                    INDICTMENT

                                    19 Cr.

                       (18 U.S.C.   §§   1349 and 1956(h) .)


                                              GEOFFREY S. BERMAN
                                         United States Attorney.




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